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                                  UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA


   In re:                                             §   Case No. 14-05553-LA7
                                                      §
   RENO WILSON, INC.                                  §
                                                      §
                                                      §
                       Debtor(s)                      §

            CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
            CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                       AND APPLICATION TO BE DISCHARGED (TDR)

           Leonard J. Ackerman, chapter 7 trustee, submits this Final Account, Certification that
   the Estate has been Fully Administered and Application to be Discharged.

        1)       All funds on hand have been distributed in accordance with the Trustee’s Final
 Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee’s control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

        2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
 claims discharged without payment, and expenses of administration is provided below:



 Assets Abandoned:             $467,146.00                Assets Exempt:      NA
 (without deducting any secured claims)



 Total Distributions to                                   Claims Discharged
 Claimants:                        $1,221,540.49          Without Payment:    NA

 Total Expenses of
 Administration:                   $554,407.09


        3)      Total gross receipts of $1,975,947.58 (see Exhibit 1), minus funds paid to the
 debtor(s) and third parties of $200,000.00 (see Exhibit 2), yielded net receipts of $1,775,947.58
 from the liquidation of the property of the estate, which was distributed as follows:




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                                     CLAIMS               CLAIMS          CLAIMS             CLAIMS
                                   SCHEDULED             ASSERTED        ALLOWED              PAID
   Secured Claims
   (from Exhibit 3)                          $0.00              $0.00            $0.00             $0.00
   Priority Claims:
       Chapter 7 Admin.
       Fees and Charges                         NA        $554,507.09     $554,407.09       $554,407.09
        (from Exhibit 4)
       Prior Chapter Admin.
       Fees and Charges                         NA              $0.00            $0.00             $0.00
       (from Exhibit 5)
       Priority Unsecured
       Claims                                $0.00        $461,544.39     $153,558.79       $153,558.79
       (From Exhibit 6)
   General Unsecured
   Claims (from Exhibit 7)                   $0.00       $13,036,947.0   $1,067,981.70     $1,067,981.7
                                                                     6                                0

                                             $0.00       $14,052,998.5   $1,775,947.58     $1,775,947.5
     Total Disbursements                                             4                                8

         4). This case was originally filed under chapter 7 on 07/11/2014. The case was pending
   for 30 months.

        5). All estate bank statements, deposit slips, and canceled checks have been submitted to
   the United States Trustee.

         6). An individual estate property record and report showing the final accounting of the
   assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
   each estate bank account, showing the final accounting of the receipts and disbursements of
   estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
   foregoing report is true and correct.

          Dated: 01/06/2017                            By: /s/ Leonard J. Ackerman
                                                       /Le Trustee
                                                       ona
                                                       rd
                                                       J.
                                                       Ack
                                                       erm
   STATEMENT: This Uniform Form is associated with an open
                                                       an bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                  EXHIBITS TO
                                                 FINAL ACCOUNT

  EXHIBIT 1 – GROSS RECEIPTS

                           DESCRIPTION                                   UNIFORM                          AMOUNT
                                                                        TRAN. CODE                       RECEIVED
 Accounts Recieveable Various (see AR list) Location: In                   1121-000                         $4,177.49
 debtor's possession
 Bank Accounts Union Bank: Checking; 4745; ~$1,000.00 Union                1129-000                        $21,318.94
 Bank; Money Man; 7650; $0.00 US Bank; Checking; 9042;
 $800.00
 U.S. Trademarks (Pending and Registered) No.s: 75277955;                  1180-000                     $1,950,000.00
 77020758; 77036708; 77048331; 73787578; 85111712;
 85938970 Reg#
 2014 STATE TAX REFUND                                                     1224-000                            $50.15
 Office Equipment Desks, Chairs, Phones, Computers, Monitors,              1229-000                           $401.00
 Printers, Filling Cabinets Location: In debtor's possession
 TOTAL GROSS RECEIPTS                                                                                   $1,975,947.58

  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

  EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                PAYEE                                 DESCRIPTION                       UNIFOR             AMOUNT
                                                                                           M                  PAID
                                                                                         TRAN.
                                                                                         CODE
 FORGED THREADWORKS, INC.                Funds to Third Parties                         8500-002          $100,000.00
 REVISION MILITARY LTD                   Funds to Third Parties                         8500-002          $100,000.00
 TOTAL FUNDS PAID TO                                                                                       $200,000.0
 DEBTOR AND THIRD PARTIES                                                                                           0


  EXHIBIT 3 – SECURED CLAIMS
  NONE


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

        PAYEE                UNIFORM                  CLAIMS   CLAIMS                   CLAIMS              CLAIMS
                            TRAN. CODE             SCHEDULED ASSERTED                 ALLOWED                 PAID
 Leonard J. Ackerman,         2100-000                         NA     $76,528.43        $76,528.43         $76,528.43
 Trustee
 Leonard J. Ackerman,         2200-000                         NA        $150.25            $50.25             $50.25
 Trustee
 International Sureties,      2300-000                         NA      $3,436.16         $3,436.16          $3,436.16
 LTD
 Ryderz Compound,             2410-000                         NA     $28,808.46        $28,808.46         $28,808.46
 Inc.
 Trustee Insurance            2420-750                         NA      $2,420.00         $2,420.00          $2,420.00
 Agency

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 Law Office of Daniel         2500-000                  NA    $20,000.00          $20,000.00        $20,000.00
 S. Levinson, APC
 Integrity Bank               2600-000                  NA    $47,409.82          $47,409.82        $47,409.82
 Board of Equalization        2820-000                  NA        $401.00           $401.00           $401.00
 Franchise Tax Board          2820-000                  NA     $1,600.00           $1,600.00         $1,600.00
 WHISPER                      2990-000                  NA    $75,000.00          $75,000.00        $75,000.00
 INVESTMENTS,
 LLC
 Foley & Ladner, LLP          3210-000                  NA   $238,848.50     $238,848.50           $238,848.50
 (Fees) , Attorney for
 Trustee
 Foley & Lardner LLP          3220-000                  NA     $4,103.10           $4,103.10         $4,103.10
 (Expenses) , Attorney
 for Trustee
 R. Dean Johnson ,            3410-000                  NA     $1,000.00           $1,000.00         $1,000.00
 Accountant for
 Trustee
 R. Dean Johnson              3410-000                  NA    $17,820.00          $17,820.00        $17,820.00
 (Fees) , Accountant
 for Trustee
 R. Dean Johnson              3420-000                  NA        $681.37           $681.37           $681.37
 (Expenses) ,
 Accountant for
 Trustee
 Fischer Auction Co.,         3610-000                  NA     $6,300.00           $6,300.00         $6,300.00
 Inc., Auctioneer for
 Trustee
 Fischer Auction Co.          3711-000                  NA    $30,000.00          $30,000.00        $30,000.00
 Inc., Appraiser for
 Trustee
 TOTAL CHAPTER 7 ADMIN. FEES AND                        NA   $554,507.09     $554,407.09           $554,407.09
 CHARGES


  EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
  NONE


  EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

  CLAIM           CLAIMANT          UNIFORM           CLAIMS         CLAIMS   CLAIMS                 CLAIMS
 NUMBER                            TRAN. CODE      SCHEDULED       ASSERTED ALLOWED                    PAID
      1        AJLE4, LLC            5800-000             $0.00       $1,173.60       $1,173.60      $1,173.60
      9P       Mike Di Anna          5300-000             $0.00    $150,000.00      $100,403.46    $100,403.46
    9PFW       Internal Revenue      5800-000             $0.00    $150,000.00       $31,277.31     $31,277.31
               Service
    9PSW       State of              5800-000             $0.00    $150,000.00       $10,333.63     $10,333.63
               California-EDD
      11       FRANCHISE             5800-000             $0.00         $17.07           $17.07        $17.07
               TAX BOARD
      28       Internal Revenue      5800-000             $0.00        $345.51          $345.51       $345.51

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               Service
               INTERNAL                5800-000             $0.00     $9,406.21     $9,406.21      $9,406.21
               REVENUE
               SERVICE-
               EMPLYR TX
               INTERNAL                5800-000             $0.00       $168.00      $168.00        $168.00
               REVENUE
               SERVICE-FUTA
               STATE OF                5800-000             $0.00       $434.00      $434.00        $434.00
               CALIFORNIA-
               EDD
 TOTAL PRIORITY UNSECURED CLAIMS                            $0.00   $461,544.39   $153,558.79    $153,558.79


  EXHIBIT 7 – GENERAL UNSECURED CLAIMS

  CLAIM          CLAIMANT            UNIFORM            CLAIMS        CLAIMS   CLAIMS              CLAIMS
 NUMBER                             TRAN. CODE       SCHEDULED      ASSERTED ALLOWED                 PAID
      2        Leetwo Metals,          7100-000             $0.00   $185,000.00         $0.00          $0.00
               Inc
      3        Ingrid Meno             7100-000             $0.00   $200,000.00         $0.00          $0.00
      4        RYDERZ                  7100-000             $0.00         $0.00         $0.00          $0.00
               COMPOUND,
               INC.
      5        John and                7100-000             $0.00   $271,931.00   $271,931.00    $271,931.00
               Christina Ek
               Family Trust
      6        MOTO GROUP              7100-000             $0.00     $6,353.35     $4,444.15      $4,444.15
      7        Matthew J.              7100-000             $0.00    $75,000.00         $0.00          $0.00
               Mellos
      8        James Di Anna           7100-000             $0.00    $25,000.00    $25,000.00     $25,000.00
     9U        Mike Di Anna            7100-000             $0.00   $150,000.00     $7,985.60      $7,985.60
               (Reimbursement)
      10       Voyager Imports         7100-000             $0.00     $6,605.56     $6,605.56      $6,605.56
               LLC
     11U       FRANCHISE               7100-000             $0.00       $250.00      $250.00        $250.00
               TAX BOARD
      12       George Moulios          7100-000             $0.00    $75,000.00    $75,000.00     $75,000.00
      13       Daniel Fefferman        7100-000             $0.00     $7,065.72     $7,065.72      $7,065.72
      14       MOTO GROUP              7100-000             $0.00    $19,616.82    $18,880.03     $18,880.03
      15       DFASS&#092;Re           7100-000             $0.00   $145,135.90         $0.00          $0.00
               tail Travel
               Services, Inc. a
               Florida Corpo
      16       Moto Group              7100-000             $0.00   $209,297.70   $206,052.38    $206,052.38
      17       C&H West                7400-000             $0.00 $1,000,000.00   $237,445.77    $237,445.77
               Merchandising,
               Inc.
      18       Barry Fefferman         7100-000             $0.00    $14,970.00    $14,970.00     $14,970.00
      19       Pacific Vector          7100-000             $0.00 $6,980,078.00         $0.00          $0.00
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               Holdings Inc
      20       Nancy Wolf,           7100-000             $0.00   $140,724.00    $70,000.00     $70,000.00
               Trustee on behalf
               of BK Estate of
               PVH-
      21       Dan Kloiber           7400-000             $0.00   $400,000.00    $59,361.45     $59,361.45
      22       Kloiber Holdings,     7400-000             $0.00 $3,000,000.00    $59,361.45     $59,361.45
               Inc.
      23       LA Giardiniera        7100-000             $0.00     $2,908.98     $3,628.59      $3,628.59
               SRL
      24       Stradling Yocca       7100-000             $0.00    $31,306.00         $0.00          $0.00
               Carlson & Rauth,
               P.C.
      25       DNA, LLC              7100-000             $0.00    $31,306.00         $0.00          $0.00
      26       The Coopersmith       7100-000             $0.00     $1,359.34         $0.00          $0.00
               Law Firm
      27       1976 LLC dba          7200-000             $0.00    $58,038.69         $0.00          $0.00
               Hoven Vision
 TOTAL GENERAL UNSECURED CLAIMS                           $0.00 $13,036,947.0 $1,067,981.7 $1,067,981.7
                                                                            6            0            0




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                                                                                    FORM 1
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                  Page No:    1              Exhibit 8
                                                                                 ASSET CASES

Case No.:                    14-05553-LA7                                                                                           Trustee Name:                               Leonard J. Ackerman
Case Name:                   RENO WILSON, INC.                                                                                      Date Filed (f) or Converted (c):            07/11/2014 (f)
For the Period Ending:       1/6/2017                                                                                               §341(a) Meeting Date:                       08/26/2014
                                                                                                                                    Claims Bar Date:                            11/17/2014

                                 1                                  2                        3                              4                        5                                         6

                        Asset Description                         Petition/           Estimated Net Value                Property               Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                         Unscheduled          (Value Determined by                Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                      Value                    Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                    Less Liens, Exemptions,
                                                                                       and Other Costs)

 Ref. #
1       Bank Accounts Union Bank: Checking; 4745;                       $2,800.00                      $2,800.00                                    $21,318.94                                             FA
        ~$1,000.00 Union Bank; Money Man; 7650;
        $0.00 US Bank; Checking; 9042; $800.00 Bank
        of America; Checking; 9242; $1,000.00 Location:
        In debtor's possession
2       Accounts Recieveable Various (see AR list)                 $250,984.25                       $250,984.25                                     $4,177.49                                             FA
        Location: In debtor's possession
3      Intelectual Property, U.S. Patent Numbers;                  $250,000.00                       $250,000.00                                           $0.00                                           FA
       D392307; D383478; D377803; D382291;
       5583583 & D534942 Location: In debtor's
       possession
Asset Notes:      SOLD AS OVERAL PART OF THE COMPANY
4       U.S. Trademarks (Pending and Registered) No.s:             $250,000.00                       $250,000.00                                 $1,950,000.00                                             FA
        75277955; 77020758; 77036708; 77048331;
        73787578; 85111712; 85938970 Reg#; 936443;
        2129815; 1570148; 1570137 Location: In
        debtor's possession
5       Office Equipment Desks, Chairs, Phones,                     $25,000.00                        $25,000.00                                         $401.00                                           FA
        Computers, Monitors, Printers, Filling Cabinets
        Location: In debtor's possession
6      Inventory Sunglasses, Display Cases, Lenses,                $217,146.00                       $217,146.00                                           $0.00                                           FA
       Packaging,.... Location: In debtor's possession
Asset Notes:     SOLD AS PART OF SALE OF COMPANY
7       2014 STATE TAX REFUND                             (u)             $50.15                          $50.15                                          $50.15                                           FA


TOTALS (Excluding unknown value)                                                                                                                                              Gross Value of Remaining Assets
                                                                    $995,980.40                     $995,980.40                                   $1,975,947.58                                       $0.00




     Major Activities affecting case closing:
      07/26/2016     Filed NFR
                                      Case 14-05553-CL7               Filed 01/26/17           Entered 01/26/17 13:29:06                 Doc 282          Pg. 8 of 14
                                                                                        FORM 1
                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Page No:    2              Exhibit 8
                                                                                     ASSET CASES

Case No.:                  14-05553-LA7                                                                                                      Trustee Name:                               Leonard J. Ackerman
Case Name:                 RENO WILSON, INC.                                                                                                 Date Filed (f) or Converted (c):            07/11/2014 (f)
For the Period Ending:     1/6/2017                                                                                                          §341(a) Meeting Date:                       08/26/2014
                                                                                                                                             Claims Bar Date:                            11/17/2014

                               1                                          2                           3                              4                        5                                         6

                       Asset Description                               Petition/               Estimated Net Value                Property               Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                               Unscheduled              (Value Determined by                Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                            Value                        Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                             Less Liens, Exemptions,
                                                                                                and Other Costs)

     07/26/2016     Submit Order re NFR
     06/24/2016     Submitted TFR/NFR To UST
     03/17/2016     Waiting on Dean Kirby (Represents Nancy Wolf) to file Motion to Approve PVH-DNA Claim.
     11/27/2015     STILL SETTLING CLAIMS.
     10/21/2015     VERIFY AND PRINT CHECK FOR FOLEY LLP
     07/17/2015     Pending resolution from objection to claims no. 9, 17, 19, 21 and 22
     07/08/2015     Filed NOIA (Doc. No. 135) RE: TAX PAYMENTS - MIN TAX
     03/31/2015     CLAIMS FILED FOR DEBTS THAT APPEAR TO BELONG TO CANADIAN PARENT COMPANY. DISCUSSED OBJECTIONS AND HOW TO RESOLVE WITH
                    COUNSEL.
     02/20/2015     Counsel to Object to Claims
     11/24/2014     READY FOR FINAL FEE APPLICATION. AWAIT FOR COUNSEL TO FILE THEIR FINAL FEE APP.
     11/24/2014     FOLEY TO OBJECT TO CLAIMS


Initial Projected Date Of Final Report (TFR):      12/31/2016                        Current Projected Date Of Final Report (TFR):                                /s/ LEONARD J. ACKERMAN
                                                                                                                                                                  LEONARD J. ACKERMAN
                                                                                                                                                     Page No:1
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                                                                                                                                                 Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           14-05553-LA7                                                         Trustee Name:                            Leonard J. Ackerman
Case Name:                         RENO WILSON, INC.                                                   Bank Name:                                Integrity Bank
Primary Taxpayer ID #:             **-***5991                                                           Checking Acct #:                         ******5553
Co-Debtor Taxpayer ID #:                                                                                Account Title:
For Period Beginning:              7/11/2014                                                            Blanket bond (per case limit):           $6,500,000.00
For Period Ending:                 1/6/2017                                                             Separate bond (if applicable):

       1                2                       3                                 4                                        5                 6                   7

   Transaction       Check /             Paid to/                     Description of Transaction        Uniform          Deposit      Disbursement            Balance
      Date            Ref. #          Received From                                                    Tran Code           $               $


08/14/2014            (2)      Nancy Wolf, Trustee           TURNOVER FUNDS RECOVERED BY               1121-000           $4,177.49                              $4,177.49
                                                             PRIOR TRUSTEE
08/21/2014           1001      Trustee Insurance Agency      Insurance for Gatorz Sunglasses and       2420-750                            $2,420.00             $1,757.49
                                                             Display Cases being stored at 1905
                                                             Aston Avenue, #101, San Diego, CA
                                                             92008
08/31/2014                     Integrity Bank                Bank Service Fee                          2600-000                                  $2.41           $1,755.08
09/18/2014            (1)      UNION BANK                    CASHIER'S CHECK FOR MONEY IN              1129-000          $21,318.94                            $23,074.02
                                                             BANK ACCOUNT
09/18/2014            (1)      UNION BANK                    MONEY IN BANK ACCOUNT,                    1129-000          $21,318.94                            $44,392.96
                                                             LISTED ON SCHEDULES.
09/18/2014            (1)      UNION BANK                    CASHIER'S CHECK FOR MONEY IN              1129-000       ($21,318.94)                             $23,074.02
                                                             BANK ACCOUNT
09/24/2014            (4)      BriXun - Wells Fargo          DEPOSIT FOR AUCTION TO                    1180-000       $100,000.00                             $123,074.02
                               Cashiers Check                ULTIMATE WINNER OF AUCTION
                                                             BRIXUN - OPTICAL VENTURES INC
09/25/2014            (4)      FORGED                        DEPOSIT FOR AUCTION. WIRE                 1180-002       $100,000.00                             $223,074.02
                               THREADWORKS, INC              DATE - 9-15-14.
09/25/2014            (4)      OPTICAL VENTURES,             PURCHASE PRICE FOR                        1180-000     $1,650,000.00                            $1,873,074.02
                               LLC                           TRADEMARKS, INTELLECTUAL
                                                             PROPERTY, INVENTORY, AND ALL
                                                             OTHER ASSETS OTHER THAN
                                                             CASH AND BANK ACCOUNTS.
                                                             WIRE DATE: 9/24/14
09/25/2014            (4)      REVISION MILITARY             WIRED INTO ACCOUNT ON 9/12/14.            1180-002       $100,000.00                            $1,973,074.02
                               LIMITED                       FUNDS ARE DEPOSIT FOR
                                                             AUCTION
09/26/2014                     REVISION MILITARY             9/23/14 RETURN OF AUCTION                 8500-002                          $100,000.00         $1,873,074.02
                               LTD                           DEPOSIT
09/26/2014                     WHISPER                       9/26/14 - BREAKUP FEE AND                 2990-000                           $75,000.00         $1,798,074.02
                               INVESTMENTS, LLC              EXPENSE REIMBURSEMENT TO
                                                             STALKING HORSE
09/30/2014                     Integrity Bank                Bank Service Fee                          2600-000                             $756.76          $1,797,317.26
10/03/2014                     FORGED                        FUNDS WERE WIRED OUT 10/2/14              8500-002                          $100,000.00         $1,697,317.26
                               THREADWORKS, INC.             TO FORGED THREADWORKS, INC.
                                                             FOR RETURN OF AUCTION
                                                             DEPOSIT.
10/03/2014           1002      Law Office of Daniel S.       PAYMENT FOR 14 DOMAIN                     2500-000                           $20,000.00         $1,677,317.26
                               Levinson, APC                 NAMES - DIANNA HAD NAMES
                                                             REGISTERED IN HIS NAME
                                                             PERSONALLY
10/17/2014           1003      Board of Equalization         3rd Quarter 2014 - #97 803874 - SALES     2820-000                             $401.00          $1,676,916.26
                                                             TAX
10/20/2014           1004      International Sureties, LTD   Bond #016025040                           2300-000                             $191.73          $1,676,724.53
                                                             Chapter 7 Blanket Bond California-
                                                             Southern Dist.- San Diego

                                                                                                     SUBTOTALS      $1,975,496.43        $298,771.90
                                                                                                                                                          Page No:2
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                                                                        Entered                                               Doc 282           Pg. 10 of
                                                                                                                                                      Exhibit 9
                                                                           14
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           14-05553-LA7                                                              Trustee Name:                            Leonard J. Ackerman
Case Name:                         RENO WILSON, INC.                                                        Bank Name:                                Integrity Bank
Primary Taxpayer ID #:             **-***5991                                                                Checking Acct #:                         ******5553
Co-Debtor Taxpayer ID #:                                                                                     Account Title:
For Period Beginning:              7/11/2014                                                                 Blanket bond (per case limit):           $6,500,000.00
For Period Ending:                 1/6/2017                                                                  Separate bond (if applicable):

       1                2                       3                                  4                                            5                 6                   7

   Transaction       Check /              Paid to/                    Description of Transaction             Uniform          Deposit        Disbursement          Balance
      Date            Ref. #           Received From                                                        Tran Code           $                 $


10/24/2014            (5)      Brixun Corporation            Sales Tax Return                               1229-000             $401.00                          $1,677,125.53
10/31/2014                     Integrity Bank                Bank Service Fee                               2600-000                            $2,716.72         $1,674,408.81
11/24/2014           1005      International Sureties, LTD   Bond Payment                                   2300-000                            $2,526.65         $1,671,882.16
11/30/2014                     Integrity Bank                Bank Service Fee                               2600-000                            $2,613.59         $1,669,268.57
12/19/2014           1006      FOLEY & LARDNER LLP           Order entered 12/18/14 approving fees              *                             $125,428.09         $1,543,840.48
                                                             $121,989.00 and costs $3439.09
                                                             Attorneys for Chapter 7        $(121,989.00)   3210-000                                              $1,543,840.48
                                                             Trustee
                                                             Attorneys for Chapter 7          $(3,439.09)   3220-000                                              $1,543,840.48
                                                             Trustee
12/31/2014                     Integrity Bank                Bank Service Fee                               2600-000                            $2,693.34         $1,541,147.14
12/31/2014           1007      Ryderz Compound, Inc.         DKT#83 $22,085.19 THRU 9-13-14,                2410-000                           $28,808.46         $1,512,338.68
                                                             $6723.27 THRU 9-30-14
01/02/2015           1008      Fischer Auction Co. Inc.      BK COURT Docket #103                           3711-000                           $30,000.00         $1,482,338.68
01/02/2015           1009      Fischer Auction Co., Inc.     BK COURT DOCKET #103                           3610-000                            $6,300.00         $1,476,038.68
01/08/2015           1006      VOID: FOLEY &                 CHECK VOIDED - ATTORNEYS DID                       *                            ($125,428.09)        $1,601,466.77
                               LARDNER LLP                   NOT RECEIVE!! LJA
                                                             Attorneys for Chapter 7 $121,989.00            3210-003                                              $1,601,466.77
                                                             Trustee
                                                             Attorneys for Chapter 7           $3,439.09    3220-003                                              $1,601,466.77
                                                             Trustee
01/08/2015           1010      FOLEY & LARDNER LLP           Order entered 12/18/14 approving fees              *                             $125,428.09         $1,476,038.68
                                                             $121,989.00 and costs $3439.09
                                                             Foley & Lardner LLP,           $(121,989.00)   3210-000                                              $1,476,038.68
                                                             Attorneys for Chapter 7
                                                             Trustee
                                                             Foley & Lardner LLP,             $(3,439.09)   3220-000                                              $1,476,038.68
                                                             Attorneys for Chapter 7
                                                             TrusteeAttorneys for
                                                             Chapter 7 Trustee
01/31/2015                     Integrity Bank                Bank Service Fee                               2600-000                            $2,476.00         $1,473,562.68
02/09/2015           1011      Franchise Tax Board           Reference "12/2015 100-ES CA#                  2820-000                             $800.00          $1,472,762.68
                                                             2039232"
02/28/2015                     Integrity Bank                Bank Service Fee                               2600-000                            $2,146.34         $1,470,616.34
03/02/2015            (7)      State of California           2014 State Refund                              1224-000                $50.15                        $1,470,666.49
                               Controller
03/31/2015                     Integrity Bank                Bank Service Fee                               2600-000                            $2,372.08         $1,468,294.41
04/30/2015                     Integrity Bank                Bank Service Fee                               2600-000                            $2,291.87         $1,466,002.54
05/31/2015                     Integrity Bank                Bank Service Fee                               2600-000                            $2,364.56         $1,463,637.98
06/30/2015                     Integrity Bank                Bank Service Fee                               2600-000                            $2,284.59         $1,461,353.39
07/30/2015                     Integrity Bank                Bank Service Fee                               2600-000                            $2,281.03         $1,459,072.36
08/31/2015                     Integrity Bank                Bank Service Fee                               2600-000                            $2,429.30         $1,456,643.06
09/30/2015                     Integrity Bank                Bank Service Fee                               2600-000                            $2,273.68         $1,454,369.38



                                                                                                       SUBTOTALS                 $451.15      $222,806.30
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                                                                                                                                                         Exhibit 9
                                                                          14
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           14-05553-LA7                                                                 Trustee Name:                            Leonard J. Ackerman
Case Name:                         RENO WILSON, INC.                                                           Bank Name:                                Integrity Bank
Primary Taxpayer ID #:             **-***5991                                                                   Checking Acct #:                         ******5553
Co-Debtor Taxpayer ID #:                                                                                        Account Title:
For Period Beginning:              7/11/2014                                                                    Blanket bond (per case limit):           $6,500,000.00
For Period Ending:                 1/6/2017                                                                     Separate bond (if applicable):

       1                2                       3                                   4                                              5                 6                   7

   Transaction       Check /             Paid to/                     Description of Transaction                Uniform          Deposit       Disbursement           Balance
      Date            Ref. #          Received From                                                            Tran Code           $                $


10/21/2015           1012      FOLEY & LARDNER LLP           PURSUANT TO ORDER BK DKT NO                           *                              $57,591.13         $1,396,778.25
                                                             224
                                                             PURSUANT TO ORDER      $(57,087.00)               3210-000                                              $1,396,778.25
                                                             BK DKT NO 224
                                                             PURSUANT TO ORDER                     $(504.13)   3220-000                                              $1,396,778.25
                                                             BK DKT NO 224
10/31/2015                     Integrity Bank                Bank Service Fee                                  2600-000                            $2,336.81         $1,394,441.44
11/30/2015                     Integrity Bank                Bank Service Fee                                  2600-000                            $2,176.59         $1,392,264.85
12/17/2015           1013      International Sureties, LTD   BOND PAYMENT FOR 2016, BOND                       2300-000                             $717.78          $1,391,547.07
                                                             NUMBER 016067656
12/31/2015                     Integrity Bank                Bank Service Fee                                  2600-000                            $2,245.56         $1,389,301.51
01/31/2016                     Integrity Bank                Bank Service Fee                                  2600-000                            $2,240.85         $1,387,060.66
02/18/2016           1014      Franchise Tax Board           Reference "12/2016 100-ES CA#                     2820-000                             $800.00          $1,386,260.66
                                                             2039232"
02/29/2016                     Integrity Bank                Bank Service Fee                                  2600-000                            $2,092.60         $1,384,168.06
03/31/2016                     Integrity Bank                Bank Service Fee                                  2600-000                            $2,232.58         $1,381,935.48
04/30/2016                     Integrity Bank                Bank Service Fee                                  2600-000                            $2,157.07         $1,379,778.41
05/31/2016                     Integrity Bank                Bank Service Fee                                  2600-000                            $2,225.49         $1,377,552.92
08/08/2016           1015      FOLEY & LARDNER LLP           Order entered on 08/03/16 approving fees              *                              $54,932.38         $1,322,620.54
                                                             and expenses
                                                             Foley & Ladner, LLP             $(54,772.50)      3210-000                                              $1,322,620.54
                                                             (Fees)
                                                             Foley & Lardner LLP                   $(159.88)   3220-000                                              $1,322,620.54
                                                             (Expenses)
08/08/2016           1016      R. Dean Johnson               Order entered on 08/3/16 approving fees               *                              $18,501.37         $1,304,119.17
                                                             and expenses
                                                             R. Dean Johnson (Fees)           $(17,820.00)     3410-000                                              $1,304,119.17
                                                             R. Dean Johnson                       $(681.37)   3420-000                                              $1,304,119.17
                                                             (Expenses)
08/09/2016           1017      R. Dean Johnson               Up to fee award                                   3410-000                            $1,000.00         $1,303,119.17
08/11/2016           1018      FOLEY & LARDNER LLP           Up to fee award                                   3210-000                            $5,000.00         $1,298,119.17
08/23/2016           1015      STOP PAYMENT:                 Order entered on 08/03/16 approving fees              *                             ($54,932.38)        $1,353,051.55
                               FOLEY & LARDNER LLP           and expenses
                                                             Foley & Ladner, LLP               $54,772.50      3210-004                                              $1,353,051.55
                                                             (Fees)
                                                             Foley & Lardner LLP                   $159.88     3220-004                                              $1,353,051.55
                                                             (Expenses)
08/23/2016           1019      FOLEY & LARDNER LLP           Order entered on 08/03/16 approving fees              *                              $54,932.38         $1,298,119.17
                                                             and expenses
                                                             Foley & Ladner, LLP             $(54,772.50)      3210-000                                              $1,298,119.17
                                                             (Fees)
                                                             Foley & Lardner LLP                   $(159.88)   3220-000                                              $1,298,119.17
                                                             (Expenses)
09/06/2016           1020      Leonard J. Ackerman           Trustee Compensation                              2100-000                           $76,528.43         $1,221,590.74
09/06/2016           1021      Leonard J. Ackerman           Trustee Expenses                                  2200-000                               $50.25         $1,221,540.49

                                                                                                          SUBTOTALS                    $0.00     $232,828.89
                                                                                                                                                     Page No:4
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                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          14-05553-LA7                                                          Trustee Name:                            Leonard J. Ackerman
Case Name:                        RENO WILSON, INC.                                                    Bank Name:                                Integrity Bank
Primary Taxpayer ID #:            **-***5991                                                            Checking Acct #:                         ******5553
Co-Debtor Taxpayer ID #:                                                                                Account Title:
For Period Beginning:              7/11/2014                                                            Blanket bond (per case limit):           $6,500,000.00
For Period Ending:                 1/6/2017                                                             Separate bond (if applicable):

       1                2                      3                               4                                           5                 6                   7

   Transaction       Check /             Paid to/                  Description of Transaction           Uniform          Deposit       Disbursement           Balance
      Date            Ref. #          Received From                                                    Tran Code           $                $


09/06/2016           1022      INTERNAL REVENUE           Form 941 3d qtr 2016 EIN XX-XXXXXXX          5800-000                            $9,406.21         $1,212,134.28
                               SERVICE-EMPLYR TX
09/06/2016           1023      INTERNAL REVENUE           Form 940 2016 EIN XX-XXXXXXX                 5800-000                             $168.00          $1,211,966.28
                               SERVICE-FUTA
09/06/2016           1024      STATE OF CALIFORNIA        Form DE9 3d Qtr 2016 a/c 416 2282 0          5800-000                             $434.00          $1,211,532.28
09/06/2016           1025      AJLE4, LLC                 1ST INSTALLMENT Account Number:              5800-000                            $1,173.60         $1,210,358.68
                                                          ; Amount Allowed: 1,173.60; Claim #: 1;
09/06/2016           1026      Internal Revenue Service   Form 941 3d qtr 2016 EIN XX-XXXXXXX          5800-000                           $31,277.31         $1,179,081.37
09/06/2016           1027      State of California-EDD    Form DE9 3d Qtr 2016 a/c 416 2282 0          5800-000                           $10,333.63         $1,168,747.74
09/06/2016           1028      FRANCHISE TAX              1ST INSTALLMENT Account Number:              5800-000                              $17.07          $1,168,730.67
                               BOARD                      ; Amount Allowed: 17.07; Claim #: 11;
09/06/2016           1029      Internal Revenue Service   1ST INSTALLMENT Account Number:              5800-000                             $345.51          $1,168,385.16
                                                          ; Amount Allowed: 345.51; Claim #: 28;
09/06/2016           1030      Mike Di Anna               1ST INSTALLMENT Account Number:              5300-000                          $100,403.46         $1,067,981.70
                                                          ; Amount Allowed: 100,403.46; Claim #:
                                                          9;
09/06/2016           1031      John and Christina Ek      1ST INSTALLMENT Account Number:              7100-000                          $271,931.00          $796,050.70
                               Family Trust               ; Amount Allowed: 271,931.00; Claim #:
                                                          5;
09/06/2016           1032      MOTO GROUP                 1ST INSTALLMENT Account Number:              7100-000                            $4,444.15          $791,606.55
                                                          ; Amount Allowed: 4,444.15; Claim #: 6;
09/06/2016           1033      James Di Anna              1ST INSTALLMENT Account Number:              7100-000                           $25,000.00          $766,606.55
                                                          ; Amount Allowed: 25,000.00; Claim #: 8;
09/06/2016           1034      Mike Di Anna               1ST INSTALLMENT Account Number:              7100-000                            $7,985.60          $758,620.95
                               (Reimbursement)            ; Amount Allowed: 7,985.60; Claim #: 9;
09/06/2016           1035      Voyager Imports LLC        1ST INSTALLMENT Account Number:              7100-000                            $6,605.56          $752,015.39
                                                          ; Amount Allowed: 6,605.56; Claim #: 10;
09/06/2016           1036      FRANCHISE TAX              1ST INSTALLMENT Account Number:              7100-000                             $250.00           $751,765.39
                               BOARD                      ; Amount Allowed: 250.00; Claim #: 11;
09/06/2016           1037      George Moulios             1ST INSTALLMENT Account Number:              7100-000                           $75,000.00          $676,765.39
                                                          ; Amount Allowed: 75,000.00; Claim #:
                                                          12;
09/06/2016           1038      Daniel Fefferman           1ST INSTALLMENT Account Number:              7100-000                            $7,065.72          $669,699.67
                                                          ; Amount Allowed: 7,065.72; Claim #: 13;
09/06/2016           1039      MOTO GROUP                 1ST INSTALLMENT Account Number:              7100-000                           $18,880.03          $650,819.64
                                                          ; Amount Allowed: 18,880.03; Claim #:
                                                          14;
09/06/2016           1040      Moto Group                 1ST INSTALLMENT Account Number:              7100-000                          $206,052.38          $444,767.26
                                                          ; Amount Allowed: 206,052.38; Claim #:
                                                          16;
09/06/2016           1041      Barry Fefferman            1ST INSTALLMENT Account Number:              7100-000                           $14,970.00          $429,797.26
                                                          ; Amount Allowed: 14,970.00; Claim #:
                                                          18;




                                                                                                     SUBTOTALS                 $0.00     $791,743.23
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                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                              14-05553-LA7                                                              Trustee Name:                            Leonard J. Ackerman
Case Name:                            RENO WILSON, INC.                                                         Bank Name:                               Integrity Bank
Primary Taxpayer ID #:                **-***5991                                                                Checking Acct #:                         ******5553
Co-Debtor Taxpayer ID #:                                                                                        Account Title:
For Period Beginning:                 7/11/2014                                                                 Blanket bond (per case limit):           $6,500,000.00
For Period Ending:                    1/6/2017                                                                  Separate bond (if applicable):

       1                2                         3                                   4                                            5                 6                   7

   Transaction       Check /                Paid to/                      Description of Transaction            Uniform          Deposit      Disbursement           Balance
      Date            Ref. #             Received From                                                         Tran Code           $               $


09/06/2016           1042      Nancy Wolf, Trustee on         1ST INSTALLMENT Account Number:                  7100-000                           $70,000.00         $359,797.26
                               behalf of BK Estate of         ; Amount Allowed: 70,000.00; Claim #:
                                                              20;
09/06/2016           1043      LA Giardiniera SRL             1ST INSTALLMENT Account Number:                  7100-000                            $3,628.59         $356,168.67
                                                              ; Amount Allowed: 3,628.59; Claim #: 23;
09/06/2016           1044      C&H West Merchandising,        1ST INSTALLMENT Account Number:                  7400-000                          $237,445.77         $118,722.90
                               Inc.                           ; Amount Allowed: 237,445.77; Claim #:
                                                              17;
09/06/2016           1045      Dan Kloiber                    1ST INSTALLMENT Account Number:                  7400-000                           $59,361.45          $59,361.45
                                                              ; Amount Allowed: 59,361.45; Claim #:
                                                              21;
09/06/2016           1046      Kloiber Holdings, Inc.         1ST INSTALLMENT Account Number:                  7400-000                           $59,361.45                 $0.00
                                                              ; Amount Allowed: 59,361.45; Claim #:
                                                              22;

                                                                     TOTALS:                                                  $1,975,947.58   $1,975,947.58                  $0.00
                                                                         Less: Bank transfers/CDs                                     $0.00           $0.00
                                                                     Subtotal                                                 $1,975,947.58   $1,975,947.58
                                                                         Less: Payments to debtors                                    $0.00           $0.00
                                                                     Net                                                      $1,975,947.58   $1,975,947.58


  For the period of 7/11/2014 to 1/6/2017                                                 For the entire history of the account between 08/14/2014 to 1/6/2017

  Total Compensable Receipts:                             $1,775,947.58                   Total Compensable Receipts:                               $1,775,947.58
  Total Non-Compensable Receipts:                           $200,000.00                   Total Non-Compensable Receipts:                             $200,000.00
  Total Comp/Non Comp Receipts:                           $1,975,947.58                   Total Comp/Non Comp Receipts:                             $1,975,947.58
  Total Internal/Transfer Receipts:                               $0.00                   Total Internal/Transfer Receipts:                                 $0.00


  Total Compensable Disbursements:                        $1,775,947.58                   Total Compensable Disbursements:                          $1,775,947.58
  Total Non-Compensable Disbursements:                      $200,000.00                   Total Non-Compensable Disbursements:                        $200,000.00
  Total Comp/Non Comp Disbursements:                      $1,975,947.58                   Total Comp/Non Comp Disbursements:                        $1,975,947.58
  Total Internal/Transfer Disbursements:                          $0.00                   Total Internal/Transfer Disbursements:                            $0.00
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                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                        14-05553-LA7                                                               Trustee Name:                          Leonard J. Ackerman
Case Name:                      RENO WILSON, INC.                                                          Bank Name:                             Integrity Bank
Primary Taxpayer ID #:          **-***5991                                                                 Checking Acct #:                       ******5553
Co-Debtor Taxpayer ID #:                                                                                   Account Title:
For Period Beginning:            7/11/2014                                                                 Blanket bond (per case limit):         $6,500,000.00
For Period Ending:               1/6/2017                                                                  Separate bond (if applicable):

      1                 2                    3                                   4                                             5              6                   7

  Transaction        Check /            Paid to/                     Description of Transaction            Uniform          Deposit     Disbursement          Balance
     Date             Ref. #         Received From                                                        Tran Code           $              $




                                                                                                                                                 NET           ACCOUNT
                                                                          TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE          BALANCES

                                                                                                                         $1,975,947.58 $1,975,947.58                  $0.00




 For the period of 7/11/2014 to 1/6/2017                                             For the entire history of the case between 07/11/2014 to 1/6/2017

 Total Compensable Receipts:                         $1,775,947.58                   Total Compensable Receipts:                             $1,775,947.58
 Total Non-Compensable Receipts:                       $200,000.00                   Total Non-Compensable Receipts:                           $200,000.00
 Total Comp/Non Comp Receipts:                       $1,975,947.58                   Total Comp/Non Comp Receipts:                           $1,975,947.58
 Total Internal/Transfer Receipts:                           $0.00                   Total Internal/Transfer Receipts:                               $0.00


 Total Compensable Disbursements:                    $1,775,947.58                   Total Compensable Disbursements:                        $1,775,947.58
 Total Non-Compensable Disbursements:                  $200,000.00                   Total Non-Compensable Disbursements:                      $200,000.00
 Total Comp/Non Comp Disbursements:                  $1,975,947.58                   Total Comp/Non Comp Disbursements:                      $1,975,947.58
 Total Internal/Transfer Disbursements:                      $0.00                   Total Internal/Transfer Disbursements:                          $0.00




                                                                                                      /s/ LEONARD J. ACKERMAN
                                                                                                      LEONARD J. ACKERMAN
